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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF MARYLAND
       CHAMBERS OF                                                                 101 WEST LOMBARD STREET
    DEBORAH L. BOARDMAN                                                           BALTIMORE, MARYLAND 21201
UNITED STATES MAGISTRATE JUDGE                                                             (410) 962-7810
                                                                                         Fax: (410) 962-2577
                                                                                 MDD_DLBChambers@mdd.uscourts.gov




                                                   February 3, 2020

     RE: Cooper v. Bozzuto & Associates, Inc., et al.
     No. DLB-19-3141

                                                 LETTER ORDER

     Dear Counsel and Ms. Cooper:
             Defendants have filed a motion to dismiss. ECF No. 14. The Case Management Order
     provides that preliminary motions cannot be filed in this case without leave of court “until consent
     is obtained from all parties or the case is reassigned to a District Judge, if consent from all parties is
     not obtained.” ECF No. 9. The Court has not yet received consent from all parties to proceed
     before a magistrate judge, and the case has not been reassigned to a district judge. Accordingly,
     Defendants’ motion IS STRICKEN for failure to comply with the Case Management Order, and
     Ms. Cooper shall not file a response.
             Although informal, this is an Order of the Court and shall be docketed as such. The Clerk
     shall mail a copy to Ms. Cooper.

                                                                               /S/
                                                                       Deborah L. Boardman
                                                                       United States Magistrate Judge

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